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 1                                                     Chief Judge Marsha J. Pechman
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 7
                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
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11
      UNITED STATES OF AMERICA,
12
                                                       NO. CR11-131 MJP
                           Plaintiff,
13

14
                    v.                                 AMENDED PRELIMINARY ORDER
                                                       OF FORFEITURE
15    ANH QUOC DUONG,
16

17
                           Defendant.

18          Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, and based upon

19   the guilty plea of ANH QUOC DUONG to the offense of Conspiracy to Distribute

20   MDMA (ecstacy) as charged in Count One of the Superseding Indictment, in violation of

21   Title 18, United States Code, Sections 841(a)(1), 841(b)(1)(C) and 846, upon the terms of

22   the Plea Agreement filed in this matter between ANH QUOC DUONG and the United

23   States, and upon further agreement of the parties, it is hereby

24          ORDERED, ADJUDGED and DECREED that pursuant to Title 21,

25   United States Code, Section 853, ANH QUOC DUONG shall forfeit the following

26   property to the United States of America:

27          a.     One (1) 2007 Toyota Camry with Washington license plate 654WCQ VIN

28                 4T1BK46K87U028663


                                                                                UNITED STATES ATTORNEY
                                                                                 700 Stewart Street, Suite 5220
     AMENDED PRELIMINARY ORDER OF FORFEITURE                                    Seattle, Washington 98101-1271
     U.S. v. ANH QUOC DUONG (CR11-131 MJP) - 1                                           (206) 553-7970
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 1          The Court finds that the property listed in paragraph (a) above is subject to
 2   forfeiture because it constitutes property that was used, or intended to be used, in any
 3   manner or part, to commit or to facilitate the commission of the charged conspiracy, or is
 4   traceable to such property.
 5          IT IS FURTHER ORDERED that the United States Marshals Service shall seize
 6   the above-listed asset and maintain such seized property in its custody and control until
 7   further order of this Court, or until this Order becomes final pursuant to Rule 32.2(c)(2)
 8   of the Federal Rules of Criminal Procedure.
 9          IT IS FURTHER ORDERED that pursuant to Title 21, United States Code,
10   Section 853(n), the United States shall publish notice of the Preliminary Order of
11   Forfeiture and of the intent of the United States to dispose of the property in accordance
12   with law. The notice shall run be posted on an official government website for at least
13   thirty (30) days. The notice shall state that any person, other than the defendant, having
14   or claiming a legal interest in the above-described property must file a petition with the
15   Court within sixty (60) days of the first day of publication of notice on an official internet
16   government forfeiture website, currently www.forfeiture.gov, or within thirty-five (35)
17   days of receipt of actual notice, whichever is earlier.
18          The notice shall advise such interested person that:
19          1.     the petition shall be for a hearing to adjudicate the validity of the
20                 petitioner’s alleged interest in such property;
21          2.     the petition shall be signed by the petitioner under penalty of perjury; and
22          3.     the petition shall set forth the nature and extent of the petitioner’s right,
23                 title or interest in the forfeited property.
24          The petition shall also set forth any additional facts supporting the petitioner’s
25   claim and the relief sought.
26          The United States shall also, to the extent possible, provide direct written notice as
27   a substitute for the published notice to any person known to have alleged an interest in the
28   above-described property, which is the subject of this Preliminary Order of Forfeiture.

                                                                                      UNITED STATES ATTORNEY
                                                                                       700 Stewart Street, Suite 5220
     AMENDED PRELIMINARY ORDER OF FORFEITURE                                          Seattle, Washington 98101-1271
     U.S. v. ANH QUOC DUONG (CR11-131 MJP) - 2                                                 (206) 553-7970
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 1   Upon adjudication of any third-party claims, this court will enter a Final Order of
 2   Forfeiture pursuant to Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure, in
 3   which all such claims will be addressed.
 4           IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(3) of the Federal Rules
 5   of Criminal Procedure, this Preliminary Order of Forfeiture shall become final as to the
 6   defendant at the time of sentencing and shall be made part of the sentence and included in
 7   the judgment. Based upon the Plea Agreement and the guilty plea entered by the
 8   defendant herein, the Court finds that the defendant had an interest in the forfeited
 9   property. If no third party files a timely claim, this Order shall become the Final Order of
10   Forfeiture as provided by Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure.
11           IT IS FURTHER ORDERED that after the disposition of any motion filed under
12   Rule 32.2(c)(1)(A) of the Federal Rules of Criminal Procedure and before a hearing on
13   any third party petition, discovery may be conducted in accordance with the Federal
14   Rules
15   of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve
16   factual issues.
17           IT IS FURTHER ORDERED that the United States shall have clear title to the
18   above-described property following the Court’s disposition of all third party interests, or,
19   if none, following the expiration of the period provided in Title 21, United States Code,
20   Section 853(n) for the filing of third party petitions.
21           IT IS FURTHER ORDERED that the Court shall retain jurisdiction to enforce this
22   Order, and to amend it as necessary, pursuant to Rule 32.2(e) of the Federal Rules of
23   Criminal Procedure.
24   //
25   //
26   //
27   //
28   //

                                                                                   UNITED STATES ATTORNEY
                                                                                    700 Stewart Street, Suite 5220
     AMENDED PRELIMINARY ORDER OF FORFEITURE                                       Seattle, Washington 98101-1271
     U.S. v. ANH QUOC DUONG (CR11-131 MJP) - 3                                              (206) 553-7970
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 3          The Clerk of the Court is directed to send a copy of this Preliminary Order of
 4   Forfeiture to all counsel of record.
 5          DATED this 27th day of December, 2011.


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 8                                              Marsha J. Pechman
                                                United States District Judge
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14   Presented by:
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     s/ Richard E. Cohen
19   RICHARD E. COHEN
20
     Assistant United States Attorney

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                                                                                  UNITED STATES ATTORNEY
                                                                                   700 Stewart Street, Suite 5220
     AMENDED PRELIMINARY ORDER OF FORFEITURE                                      Seattle, Washington 98101-1271
     U.S. v. ANH QUOC DUONG (CR11-131 MJP) - 4                                             (206) 553-7970
